              Case 19-57651-pmb                   Doc 1     Filed 05/15/19 Entered 05/15/19 19:52:21                               Desc Main
                                                            Document     Page 1 of 33
Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Hannah Solar, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1311 Collier Road NW
                                  Atlanta, GA 30318
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Fulton                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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                                                                                        33 number (if known)
          Hannah Solar, LLC
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                          Case number
                                                  District                                When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                               Relationship
                                                  District                                When                         Case number, if known




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                                                                                     33 number (if known)
         Hannah Solar, LLC
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999


15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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          Hannah Solar, LLC
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 15, 2019
                                                  MM / DD / YYYY


                             X   /s/ Peter H. Marte                                                      Peter H. Marte
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ Michael D Robl                                                       Date May 15, 2019
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Michael D Robl 610905 . Garrett A. Nail 997924 Garner Portnoy & Nail LLC
                                 Printed name

                                 Robl Law Group LLC
                                 Firm name

                                 3754 LaVista Road
                                 Suite 250
                                 Tucker, GA 30084
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     404-373-5153                  Email address      michael@roblgroup.com

                                 610905 GA
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name Hannah Solar, LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                         Check if this is an
                                                GEORGIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Atlanta Electrical                                             Trade debt                                                                                              $238,204.00
 Distributor
 1770 Breckinridge
 Pkwy
 Duluth, GA 30096
 Atlanta Electrical                                             AED 3477 (Shop                                                                                          $185,302.83
 Distributor                                                    Acct)
 1770 Breckinridge
 Pkwy
 Duluth, GA 30096
 Cooperative Energy                                                                     Subject to                                                                      $374,736.00
 PO Box 15849                                                                           Setoff
 Hattiesburg, MS
 39404
 Cummins                                                        Trade debt                                                                                              $102,706.00
 c/o Sara Kincaid
 PO Box 403896
 Atlanta, GA 30384
 Diversified                                                    Trade debt                                                                                              $109,065.00
 Resources (DRI)
 c/o Greg Tillotson
 1241 Prince Perry
 Rd.
 Easley, SC 29640
 Funding Circle USA,                                                                                                                                                    $426,803.95
 Inc.
 PO Box 398383
 San Francisco, CA
 94139-8383
 Gel Funding / SPG                                                                      Disputed                                                                        $442,000.00
 Advance
 500 7th Avenue, 8th
 Floor
 New York, NY 10018




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Hannah Solar, LLC                                                                                  Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Georgia Dept. of                                                                                                                                                       $209,975.06
 Sales and Use
 P.O. BOX 105408
 Atlanta, GA
 30348-5408
 Grant Tallon                                                                                                                                                           $100,970.58
 108 Chriswoodell
 Drive
 Savannah, GA 31406
 Luke Electric                                                  Trade debt                                                                                              $132,259.54
 c/o Daniel Luke
 12 US Highway 19,
 PO Box 106
 Meigs, GA 31765
 NEC Energy                                                                                                                                                             $137,813.28
 Solutions, Inc.
 155 Flanders Road
 Westborough, MA
 01581
 O’Neal                                                         Trade debt                                                                                              $361,145.00
 Constructors/Interfa
 ce
 c/o Becky Rollins
 10 Falcon Crest
 Drive
 Greenville, SC 29607
 Precision Solar                                                Trade debt                                                                                              $165,207.00
 Installation
 75 5th Street NW,
 Suite 2150
 Atlanta, GA 30308
 Queen Funding                                                                          Disputed                                                                        $645,000.00
 2221 NE 164 St, Ste
 1144
 North Miami Beach,
 FL 33160
 RBI Solar Inc.                                                 Trade debt                                                                                              $103,087.00
 c/o Pat Hudepohl
 5513 Vine Street
 Cincinnati, OH
 45217
 SubGallagher                                                                                                                                                           $825,000.00
 Investment Trust
 PO Box 1830
 Midlothian, TX
 76065
 Synovus                                                                                                            $803,940.00                        $0.00            $803,940.00
 3400 Overton Park
 Drive SE
 4th Floor
 Atlanta, GA 30339



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Hannah Solar, LLC                                                                                  Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Talesun                                                        Trade debt                                                                                              $291,286.13
 c/o Lauren VanDyke
 25 Metro Drive,
 Suite 228
 San Jose, CA 95110
 Tennessee Dept. of                                                                                                                                                     $126,554.48
 Revenue
 500 Deaderick Street
 Nashville, TN 37242
 Tesla Energy                                                                                                                                                           $197,904.75
 Products
 3500 Deer Creek
 Road
 Palo Alto, CA 94304




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                                     Northern District of Georgia
 In re      Hannah Solar, LLC                                                                       Case No.
                                                                                   Debtor(s)        Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




 Date:       May 15, 2019                                               /s/ Peter H. Marte
                                                                        Peter H. Marte/CEO
                                                                        Signer/Title




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                        A-1 Brantley Waste Management
                        2251 Toleddo Drive
                        Albany, GA 31705



                        AAA Freight Inc
                        11805 S. Central Park Ave
                        Alsip, IL 60803



                        Aaron Hill
                        3805 Brogden Road
                        Smithfield, NC 27577



                        Ahern Rentals
                        1401 Mineral Avenue
                        Las Vegas, NV 89106



                        Alabama Dept. of Revenue
                        50 N Ripley Street
                        Montgomery, AL 36130



                        Alan Varnson
                        3008 Hidden Falls Drive
                        Buford, GA 30519



                        Alexander Smith
                        2591 Piedmont Rd. NE
                        Apt. 1429
                        Atlanta, GA 30324



                        Allen Gibbs
                        2484 Oldfield Rd NW
                        Atlanta, GA 30327



                        AlsoEnergy Inc.
                        1750 30th St, Ste 1-193
                        Boulder, CO 80301
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                    American Express
                    PO Box 650448
                    Dallas, TX 75265



                    American TeleCenters, Inc.
                    930 Interstate Ridge Dr. Ste G
                    Gainesville, GA 30501



                    Anthony Christopher
                    95 Melanie Drive
                    Stockbridge, GA 30281



                    Anthony Coker
                    3919 Byrnwyck Place
                    Atlanta, GA 30319



                    Argo Surety
                    PO Box 469011
                    San Antonio, TX 78246-9011



                    Arrow North Surveying, LLC
                    862F South Pleasantburg Drive
                    Greenville, SC 29607



                    Atlanta Electrical Distributor
                    1770 Breckinridge Pkwy
                    Duluth, GA 30096



                    Atlanta Fire Extinguisher, INC
                    PO Box 7830
                    Atlanta, GA 30357



                    Ben Browning
                    786 Colston Rd.
                    Marietta, GA 30064
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                    Benjamin Pass
                    2002 East Camellia Dr.
                    Decatur, GA 30032



                    Bento For Business
                    PO Box 190608
                    San Francisco, CA 94119



                    Blu Site Solutions
                    2310 Pendley Rd.
                    Cumming, GA 30041



                    Boston Gin Company
                    18475 US Highway 84 E
                    Boston, GA 31626



                    Braswell Buildings, LLC
                    130 Woodmen Rd
                    Moultrie, GA 31768



                    Bunnell Lammons Engineering
                    6004 Ponders Court
                    Greenville, SC 29615



                    Can Capital Funding
                    2015 Vaughn Rd NW
                    Building 500
                    Kennesaw, GA 30144



                    Capital Electric
                    PO Box 404749
                    Atlanta, GA 30384-4749



                    CED- Greentech
                    PO Box 307260
                    Gahanna, OH 43230
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                    CG Power Systems USA Inc
                    One Pauwels Drive
                    Washington, MO 63090



                    ChargePoint
                    Dept LA 24104
                    Pasadena, CA 91185



                    Chase
                    270 Park Avenue
                    New York, NY 10017



                    City of Atlanta
                    Business Tax Division
                    55 Trinity Ave, Suite 1350



                    Civic Solar
                    582 Market Street, Suite 1300
                    San Francisco, CA 94104



                    CMIT Solutions
                    3690 Evonvale Glen
                    Cumming, GA 30041



                    Complete Business Solutions
                    Par Funding
                    20 N 3rd Street
                    Philadelphia, PA 19106



                    Construction Engineering Group
                    2651 W. Eau Gallie Blvd
                    Suite A
                    Melbourne, FL 32935



                    Cooperative Energy
                    PO Box 15849
                    Hattiesburg, MS 39404
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                    Cornerstone Solutions
                    PO Box 270514
                    Houston, TX 77277



                    Corporate Lodging Consultants
                    P.O. Box 534722
                    Atlanta, GA 30353-4722



                    Crawford Concrete, LLC
                    2761 Bethel Road NE
                    Conyers, GA 30012



                    Creative Approach
                    1080 W. Peachtree St. NW
                    Atlanta, GA 30309



                    Creative Solar USA
                    PO Box 1077
                    Kennesaw, GA 30156



                    Cummins
                    c/o Sara Kincaid
                    PO Box 403896
                    Atlanta, GA 30384



                    Cynthia White
                    3440 Davis Road
                    Marietta, GA 30062



                    Dalton Spires
                    5211 Griffin Hills Court
                    Macon, GA 31216



                    David Bradley Lofton
                    P.O. Box 305
                    Dublin, GA 31040
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                    Diversified Resources (DRI)
                    c/o Greg Tillotson
                    1241 Prince Perry Rd.
                    Easley, SC 29640



                    Dixon Hughes Goodman, LLP
                    PO Box 602828
                    Charlotte, NC 28260-2828



                    Duke Energy
                    P.O. Box 601297
                    Charlotte, NC 28260-1297



                    DW Campbell of Atlanta, Inc.
                    1921 Howell Mill Road
                    Atlanta, GA 30318



                    Economy Electric Supply Co.
                    1876 Defoor Ave Suite 1
                    Atlanta, GA 30318



                    Energy Acuity LLC
                    1623 Blake Street, Suite 350
                    Denver, CO 80202



                    Energy Systems Southeast, LLC
                    3235 Veterans Circle
                    Birmingham, AL 35235



                    Enterprise FM Trust
                    PO Box 800089
                    Kansas City, MO 64180-0089



                    EV-Box North America, Inc
                    335 Madison Avenue
                    4th Floor Grand Tech
                    New York, NY 10017
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                    EX Contractor, LLC
                    453 Union Street
                    Spartanburg, SC 29306



                    Fall Line Commercial Services
                    PO Box 665
                    Butler, GA 31006



                    Fastenal Company
                    PO Box 1286
                    Winona, MN 55987-1286



                    Federal Express
                    P.O. Box 660481
                    Dallas, TX 75266-0481



                    FedEx Freight
                    Dept CH PO Box 10306
                    Palatine, IL 60055-0306



                    Forming and Shoring Solutions
                    753 Hwy 515
                    Jasper, GA 30143



                    Funding Circle
                    P.O. Box 1719
                    Portland, OR 97207



                    Funding Circle USA, Inc.
                    PO Box 398383
                    San Francisco, CA 94139-8383



                    Galarraga Engineering, P.C.
                    5090 Winding Rose Drive
                    Suwanee, GA 30024
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                    GDS Associates, Inc.
                    1850 Parkway Place, Suite 800
                    Marietta, GA 30067



                    Gel Funding / SPG Advance
                    500 7th Avenue, 8th Floor
                    New York, NY 10018



                    Georgia Dept. of Sales and Use
                    P.O. BOX 105408
                    Atlanta, GA 30348-5408



                    Gexpro
                    c/o Billy Braun
                    PO Box 742833
                    Atlanta, GA 30374



                    GMJ SurV, LLC
                    85 North Drive
                    Hampton, GA 30228



                    Grainger
                    DEPT. 886247561
                    Palatine, IL 60038-0001



                    Grant Tallon
                    108 Chriswoodell Drive
                    Savannah, GA 31406



                    Gray Engineering Consultants
                    132 Pilgrim Rd.
                    Greenville, SC 29607



                    Graybar Electric Co., Inc.
                    P.O. Box 403052
                    Atlanta, GA 30384-3052
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                    Great Waste and Recycling
                    6710 Main ST Suite 237
                    Miami Lakes, FL 33014



                    Greater Georgia Life
                    PO Box 645438
                    Cincinnati, OH 45264



                    Green Solar Erectors, LLC
                    1319 Northcutt Cove Road
                    McMinnville, TN 37110



                    Greene Solar Power, Inc.
                    PO Box 1112
                    Salisbury, NC 28145



                    GreenSky
                    PO Box 29429
                    Atlanta, GA 30359



                    Greg Kelly
                    495 Thornwyck Trail
                    Roswell, GA 30076-3927



                    Gregory Vierra
                    113 Geneva St
                    Dublin, GA 31021



                    GSBA
                    5120 Sugarloaf Parkway
                    Lawrenceville, GA 30043



                    Hanwha Q Cells America Inc.
                    300 Spectrum Center Drive
                    Suite 1250
                    Irvine, CA 92618
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                    Hany Mehany
                    105 Red Fern Trail
                    Simpsonville, SC 29681



                    Herc Rentals, Inc.
                    27500 Riverview Center Blvd.
                    Bonita Springs, FL 34134



                    Hill Realty (MMG, Inc.)
                    P.O. Box 1868
                    Dublin, GA 31040



                    Holder Electric Supply
                    PO Box 2368
                    Greenville, SC 29602



                    Howard Industries, Inc.
                    P.O. Box 11407
                    Birmingham, AL 35246-1132



                    IBC Construction Corporation
                    355 Ember Drive
                    Lavonia, GA 30553



                    ICM-International Cleaning &
                    Maint, LLC
                    P.O. Box 6286
                    Greenville, SC 29606



                    Independent Electrical
                    Contractors, Inc.
                    4500 Winters Chapel Rd.
                    Atlanta, GA 30360



                    Jackie Tallon
                    108 Chriswoodell Drive
                    Savannah, GA 31406
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                    James Talley
                    PO Box 200
                    Ducktown, TN 37326



                    Jeff Bos
                    4195 Skye Trace NE
                    Roswell, GA 30075



                    Jinko Solar
                    c/o David Khuen
                    595 Market Street, Suite 2200
                    San Francisco, CA 94105



                    JMK Landscapes, LLC
                    15420 Dobson Road
                    Diberville, MS 39540



                    Joe Powell & Associates
                    6775 Meadow Lane
                    Alpharetta, GA 30005



                    Joseph D. Waybright
                    92 Branham Street
                    Atlanta, GA 30317



                    K & R Electric Inc
                    PO Box 6727
                    Branson, MO 65615



                    Kelly Curry
                    2574 Rocky Court
                    Atlanta, GA 30349



                    Kia Motors Finance
                    P.O. Box 660891
                    Dallas, TX 75266-0891
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                    Krannich Solar
                    75 Twinbridge Dr. Suite H
                    Pennsauken, NJ 08110



                    KSM
                    P.O. Box 78-1377
                    Sebastian, FL 32978-1377



                    Langford & Associates, Inc.
                    PO Box 240
                    Shellman, GA 39886



                    Lintec International
                    7705 NE Industrial Blvd
                    Macon, GA 31216



                    Littlejohn Portable Toilets
                    P.O. Box 8622
                    Greenville, SC 29604



                    Locus Energy, Inc.
                    PO Box 419298
                    Boston, MA 02241-9298



                    Lucas Tax & Energy Consulting
                    PO Box 34685
                    Charlotte, NC 28234-4685



                    Luke Electric
                    c/o Daniel Luke
                    12 US Highway 19, PO Box 106
                    Meigs, GA 31765



                    Maddox Industrial Transformer
                    201 B West Butler Rd
                    Mauldin, SC 29662
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                    Madewell Construction, LLC
                    25 Draper Street, Unit 202
                    Cedarville, WV 26611



                    Mark Cann
                    753 Grace Valley Road
                    Inman, SC 29349



                    Matt Johnson
                    1053 Verdi Way
                    Clarkston, GA 30021



                    Maxim Crane Works L.P.
                    4389 Solutions Center
                    Chicago, IL 60677-4003



                    Mayer Electric Supply Company
                    PO Box 896537
                    Charlotte, NC 28289



                    McKinney Drilling Company, LLC
                    7550 Teague Road, Suite 300
                    Hanover, MD 21076



                    Mercer Farms Landscape Service
                    13 Spring Street
                    Aragon, GA 30104



                    Metal Menders, LLC
                    2 Holly Circle
                    Greenville, SC 29607



                    Milner, Inc.
                    PO Box 923197
                    Norcross, GA 30010-3917
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                    Mobile Mini
                    PO Box 740773
                    Cincinnati, OH 45274-0773



                    Mobile Tech
                    1011 Oconoee Crossing Cir
                    Bogart, GA 30622



                    Moody & Associates, Inc.
                    281 Ratliff Street
                    PO Box 1543
                    Lucedale, MS 39452



                    N.F. Smith & Associates, L.P.
                    5306 Holister Street
                    Houston, TX 77040



                    NEC Energy Solutions, Inc.
                    155 Flanders Road
                    Westborough, MA 01581



                    North Carolina Dept of Revenue
                    PO Box 25000
                    Raleigh, NC 27640-0500



                    Nuance Energy Group, Inc.
                    c/o Bay Business Credit
                    1407 Oakland Blvd, Suite 102
                    Walnut Creek, CA 94596



                    Openstream Design, LLC
                    6050 Peachtree Parkway
                    Suite 240-103
                    Walnut Creek, CA 94596



                    Orkin
                    1400 Marietta Blvd NW Ste B
                    Atlanta, GA 30318-4144
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                    OTT Hydromet Corp.
                    22400 Davis Dr, Unit 100
                    Sterling, VA 20164



                    O’Neal Constructors/Interface
                    c/o Becky Rollins
                    10 Falcon Crest Drive
                    Greenville, SC 29607



                    Pac Van, Inc.
                    9155 Harrison Park Court
                    Indianapolis, IN 46216



                    Panel Claw, Inc.
                    1570 Osgood Street
                    Suite 2023
                    North Andover, MA 01845



                    Pascon
                    211 Two Notch Road
                    Lexington, SC 29072



                    Patrick O'Donnell
                    78 Montgomery Ferry
                    Atlanta, GA 30309



                    Peopleready Inc
                    PO Box 740435
                    Atlanta, GA 30374-0435



                    Peter H. Marte
                    2019 Cambridge Ave
                    Atlanta, GA 30337



                    Precision Solar Installation
                    75 5th Street NW, Suite 2150
                    Atlanta, GA 30308
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                    Preformed Line Products Co.
                    PO Box 5160-N
                    Cleveland, OH 44193



                    Pursuit Engineering, Inc.
                    416 Pirkle Ferry Rd
                    Suite K300
                    Cumming, GA 30040



                    Queen Funding
                    2221 NE 164 St, Ste 1144
                    North Miami Beach, FL 33160



                    Quest Financial, LLC
                    6 Concourse Parkway
                    Suite 1075



                    Rackley Davis
                    1203 Chesterfield Road
                    North Charleston, SC 29405



                    Rackspace US, Inc.
                    PO Box 730759
                    Dallas, TX 75373-0759



                    RayTray Solar, LLC
                    1205 Manhattan Ave, Suite 1210
                    Brooklyn, NY 11222



                    RBI Solar Inc.
                    c/o Pat Hudepohl
                    5513 Vine Street
                    Cincinnati, OH 45217



                    Renergy Insurance LLC
                    c/o York Risk Services Group
                    333 City Blvd. W, Suite 1500
                    Orange, CA 92868
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                    Renusol America Inc.
                    Box #715013
                    Cincinnati, OH 45271-5013



                    Republic Services
                    P.O. BOX 9001099
                    Louisville, KY 40290-1099



                    Resitech Industries, LLC
                    2150 Boggs Road, Ste 640
                    Duluth, GA 30096



                    Richard Turner
                    134 Elder Rd
                    Hampton, GA 30228



                    Roger "Allan" Ricketts
                    3304 N. Oak Street
                    Valdosta, GA 31605



                    RPM General Contractors, Inc.
                    680 N.E. 26th Court
                    Pompano Beach, FL 33064



                    RS Andrews Services Inc
                    3617-19 Clearview Parkway
                    Atlanta, GA 30340



                    Ryan Brenny
                    317 Waterman Street
                    Marietta, GA 30060



                    Ryan Lillehei
                    1060 Longley Ave NW
                    Atlanta, GA 30318
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                    Ryder Transportation Services
                    PO Box 96723
                    Chicago, IL 60693



                    Sage Intacct, Inc., Dept 3237
                    PO Box 123237
                    Dallas, TX 75312-3237



                    Silfab
                    240 Courtneypark Drive East
                    Mississauga, ON L5T 2Y3
                    CANADA



                    SMA America, LLC
                    Dept. 3314
                    Carol Stream, IL 60132-3314



                    Sol Power, LLC
                    11 Almy St.
                    Providence, RI 02909



                    Solar Panel Solutions LLC
                    231 River Road Estates Road
                    Greenville, NC 27834



                    SolarBOS, Inc.
                    310 Stealth Court
                    Livermore, CA 94551



                    Soligent, LLC
                    1500 Valley House Dr. Ste 210
                    Rohnert Park, CA 94928



                    South Carolina Dept of Revenue
                    Corporate Income Tax Payment
                    Columbia, SC 29214-0070
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                    Southeastern Steel Inc.
                    2897 North Druid Hills Rd.
                    Suite 130
                    Atlanta, GA 30329



                    Southway Crane & Rigging
                    222 New Dunbar Road
                    Byron, GA 31008



                    Spartan Global Consulting, LLC
                    4288 Tacoma Trace
                    Suwanee, GA 30024



                    Sprint Wireless
                    PO Box 4181
                    Carol Stream, IL 60197-4181



                    SubGallagher Investment Trust
                    PO Box 1830
                    Midlothian, TX 76065



                    Sunbelt Rentals
                    PO Box 409211
                    Atlanta, GA 30384



                    Sunstate Equipment Co.
                    P.O. Box 52581
                    Phoenix, AZ 85072-2581



                    Supreme Capital Source
                    11 Orchard Court
                    Lakewood, NJ 08701



                    Switch Storage Solutions
                    2121 Lohmans Crossing Road
                    Suite 504-431
                    Austin, TX 78734
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                    Synovus
                    3400 Overton Park Drive SE
                    4th Floor
                    Atlanta, GA 30339



                    T.E.G Enterprises. Inc
                    107 Gass Dr. Metro
                    Business Park
                    Greeneville, TN 37745



                    Talesun
                    c/o Lauren VanDyke
                    25 Metro Drive, Suite 228
                    San Jose, CA 95110



                    Telfair Forest Products, LLC
                    PO Box 9
                    Lumber City, GA 31549



                    Tennessee Dept. of Revenue
                    500 Deaderick Street
                    Nashville, TN 37242



                    Tesla Energy Products
                    3500 Deer Creek Road
                    Palo Alto, CA 94304



                    Thomas & Hutton
                    PO Box 936164
                    Atlanta, GA 31193-5300



                    Thompson Hine LLP
                    Two Alliance Center
                    3560 Lenox Road, Suite 1600
                    Atlanta, GA 30326



                    Timothy Ferns
                    5272 Spalding Mill Place
                    Peachtree Corners, GA 30092
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                    Timothy Martin
                    74 Habersham Circle NE
                    Cartersville, GA 30121



                    Tradesmen International, LLC
                    PO Box 677807
                    Dallas, TX 75267-7807



                    Tri County Ready Mix Concrete
                    P.O. Box 287
                    Dawson, GA 39842



                    Triple S Contracting LLC
                    P.O. Box 1345
                    Fort Campbell, KY 42223



                    Triplett Enterprises Inc.
                    340 Lake Tomacheechee Dr.
                    Rincon, GA 31326



                    Unger Electric
                    PO Box 559
                    Tucker, GA 30085



                    Unger Electric
                    c/o Michael Welch, Esq.
                    2500 Heritage Court, Ste 200
                    Atlanta, GA 30339



                    United Rentals (North America)
                    PO Box 100711
                    Atlanta, GA 30384-0711



                    US Specialty Coatings (USSC)
                    1000 McFarland 400 Blvd
                    Alpharetta, GA 30004
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                    US Standard Products
                    PO Box 5509
                    Englewood, NJ 07631



                    Vallen
                    c/o Randy Interholzinger
                    PO Box 404753
                    Atlanta, GA 30384



                    Vector Structural Engineering
                    651 W Galena Park Blvd Ste 101
                    Draper, UT 84020



                    Veris Industries LLC
                    12345 SW Leveton Dr
                    Tualatin, OR 97062



                    Verizon Wireless
                    PO Box 4001
                    Acworth, GA 30101



                    Verizon Wireless
                    PO Box 660108
                    Dallas, TX 75266-0108



                    Virginia Johnston
                    2870 Strathmoor Road
                    Smyrna, GA 30080



                    Waste Management
                    PO Box 4648
                    Carol Stream, IL 60197-4648



                    Wells Fargo Bank, N.A.
                    P.O. Box 105710
                    Atlanta, GA 30348-5710
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                    Wells Fargo Commercial
                    Distribution Finance, LLC
                    PO BOX 206740
                    Dallas, TX 75320-6740



                    Wesco Receivables Corp
                    PO Box 530409
                    Atlanta, GA 30353



                    Wetlands Preservation, Inc.
                    47 Newton Road
                    Plaistow, NH 03865



                    White Engineering LLC
                    2436 Muirfield Way
                    Duluth, GA 30096



                    William A. Bowersox
                    4816 Jasmine Ave
                    Savannah, GA 31404



                    William H. Elliott
                    102 Wolf Creek Dr.
                    Macon, GA 31210



                    World Electric Supply
                    2375 Button Gwinnett Dr
                    Suite 100
                    Atlanta, GA 30340-3148



                    World Electric Supply
                    c/o Gady Zeewy, Esq.
                    1862 Independence Sq, Ste D
                    Atlanta, GA 30338



                    Yingli Solar
                    100 North 18th St., Suite 1900
                    Philadelphia, PA 19103
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                    ZipTie
                    Right2Buy
                    PO Box 6554
                    Akron, OH 44312



                    Zivelo, INC
                    Dept CH 19950
                    Palatine, IL 60055-9950
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                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      Hannah Solar, LLC                                                                               Case No.
                                                                                   Debtor(s)                Chapter     11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Hannah Solar, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 May 15, 2019                                                          /s/ Michael D Robl
 Date                                                                  Michael D Robl 610905 . Garrett A. Nail 997924 Garner Portnoy & Nail LLC
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Hannah Solar, LLC
                                                                       Robl Law Group LLC
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                                                                       404-373-5153 Fax:404-537-1761
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